
196 S.E.2d 275 (1973)
283 N.C. 393
Franklin GILLISPIE, by his guardian ad litem, Florence Troxler
v.
THOMASVILLE COCA COLA BOTTLING CO.
Supreme Court of North Carolina.
April 30, 1973.
Charles F. Lambeth, Jr., for plaintiff.
Hudson, Petree, Stockton, Stockton, &amp; Robinson, J. Robert Elster, James H. Kelly, Jr., for defendant.
Petition for writ of certiorari by plaintiff to review the decision of the North Carolina Court of Appeals, 17 N.C.App. 545, 195 S.E.2d 45. Denied.
